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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

  In Re:                                             CASE NO. 19-00845-JMC-7
  JOSEPH LYNN CLINARD and
  CRYSTAL ANN CLINARD,
        Debtors.                                      ADV. PROC. NO. 19-50099

  PAIGE TAM dba PAIGES REALTY,
        Plaintiff,

  v.

  JOSEPH LYNN CLINARD and
  CRYSTAL ANN CLINARD,
        Defendants.

                          STIPULATION OF VOLUNTARY DISMISSAL OF
                              COMPLAINT TO DENY DISCHARGE

    Comes now Plaintiff, Paige Tam dba Paiges Realty, and Defendants, Joseph Lynn Clinard and

Crystal Ann Clinard, by and through their respective counsel, Matthew M. Cree and Eric Redman, and

per Fed.R.Bankr.P. 7041, Fed.R.Civ.P. 41, and S.D. Ind. B-7041-2, hereby stipulate and agree to the

complete dismissal of Plaintiff’s Complaint to Deny Discharge, without consideration and any terms and

conditions, and with prejudice.

                                         Respectfully submitted,

 /s/ Matthew M. Cree                                /s/ Eric C. Redman
 Matthew M. Cree #27073-41                          Eric C. Redman
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 dba Paiges Realty                                  Crystal Ann Clinard
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                                      CERTIFICATE OF SERVICE

     I hereby certify that on November 14, 2019, the foregoing was filed electronically. Notice of this
filing will be sent to the following parties by operation of the Court's electronic filing system. Parties may
access this filing through the Court’s system:

Chapter 7 Trustee
U.S. Trustee, ustpregion10.in.ecf@usdoj.gov
Eric C. Redman, eredman@remanludwig.com


Dated: November 14, 2019
                                                      /s/ Matthew M. Cree
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                                                      Attorney for Plaintiff
